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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff,

 v.                                                            Case No. 10-CR-20014
                                                          Honorable Denise Page Hood
 NABILA MAHBUB (D-16),

                     Defendant.
                                                      /

      ORDER DENYING DEFENDANT’S CONSOLIDATED MOTION FOR
          NEW TRIAL AND JUDGMENT OF ACQUITTAL [#574]

        On October 26, 2012, a jury found Defendant Nabila Mahbub guilty of one

 count of conspiracy to commit health care fraud pursuant to 18 U.S.C. § 1349.

 Mahbub now moves for judgment of acquittal or, in the alternative, for a new trial and

 to set aside the verdict. For the reasons discussed below, Defendant’s motion for a

 new trial and judgment of acquittal is DENIED.

 I.     ANALYSIS

        Pursuant to Federal Rule of Criminal Procedure 29(c)(2), the Court may set

 aside a verdict and enter a judgment of acquittal. Defendant challenges the sufficiency

 of the evidence before the Court. “A defendant claiming ‘insufficiency of the

 evidence bears a very heavy burden.’” United States v. Wright, 16 F.3d 1429, 1439

 (6th Cir. 1994) (quoting United States v. Vannerson, 786 F.2d 221, 225 (6th Cir.
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 1986)). The question before the Court is “whether, after viewing the evidence in the

 light most favorable to the prosecution, any rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt.” Jackson v. Virginia, 443

 U.S. 307, 319 (1978) (citing Johnson v. Virginia, 406 U.S. 356, 362 (1972))

 (emphasis in original). “The government may meet its burden through circumstantial

 evidence alone, and such evidence need not exclude every possible hypothesis except

 that of guilt.” United States v. Jackson, 55 F.3d 1219, 1225 (6th Cir. 1995). In

 considering a Rule 29 motion, the Court cannot “weigh the evidence, assess the

 credibility of the witnesses, or substitute [its] judgment for that of the jury.” Wright,

 16 F.3d at 1440. Further, the Court must draw all reasonable inferences in favor of

 the jury verdict. United States v. Conatser, 514 F.3d 508, 518 (6th Cir. 2008).

       A motion for a new trial is governed by Federal Rule of Criminal Procedure 33.

 The Rule provides that the Court may “vacate any judgment and grant a new trial if

 the interest of justice so requires.” Fed.R.Crim.P. 33(a). “The paradigmatic use of a

 Rule 33 motion is to seek a new trial on the ground that ‘the jury’s verdict was against

 the manifest weight of the evidence.’” United States v. Munoz, 605 F.3d 359, 373 (6th

 Cir. 2010) (quoting United States v. Crumb, 187 F. App’x 532, 536 (6th Cir. 2006)).

 “Generally, such motions are granted only ‘in the extraordinary circumstance where

 the evidence preponderates heavily against the verdict.’” United States v. Graham,


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 125 F. App’x 624, 628 (6th Cir. 2005) (quoting United States v. Turner, 490 F. Supp.

 583, 593 (E.D. Mich. 1979), aff’d, 633 F.2d 219 (6th Cir. 1980)). The district judge

 may act as a thirteenth juror, assessing the credibility of witnesses and the weight of

 the evidence. See United States v. Lutz, 154 F.3d 581, 589 (6th Cir.1998). “The

 defendant bears the burden of proving the need for a new trial and such motions

 should be granted sparingly and with caution.” United States v. Turner, 995 F.2d

 1357, 1364 (6th Cir. 1993).

       A. Insufficient Evidence

       First, Defendant argues that the government presented insufficient evidence at

 trial to prove beyond a reasonable doubt that Defendant “knowingly and willfully”

 conspired to commit health care fraud at All American. Specifically, Defendant

 contends that the evidence was insufficient to show that she “acted with any intent to

 defraud, as she followed the business practice at All American, and executed the

 orders of Hassan Akhtar, without any intent to defraud.” [Docket No. 574, at 7] The

 Government disagrees and states that it “presented multiple examples of evidence that,

 if believed by the jury, could sustain a conviction of conspiracy to commit health care

 fraud in violation of 18 U.S.C. § 1349.” [Docket No. 578, at 4-5] The Government

 highlights the following pieces of evidence:

              • Recruiters: Regarding recruiters, numerous witnesses
                testified that she was a key liaison at All American. She
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                 would obtain pre-signed therapy notes from recruiters
                 that would be used by PTs and PTAs like Faisal
                 Chaudry and Jessica Vigil to create false visit notes.
                 According to Hassan Akhtar and Maira Suleman,
                 Mahbub acknowledged to both of them that she worked
                 with patient recruiters to take care of patients who
                 complained about not being paid. The government
                 introduced checks into evidence that Mahbub herself
                 wrote to recruiters; the evidence at trial showed that
                 Mahbub knew the recruiters were bribing patients with
                 money to provide their Medicare information as part of
                 the scheme.

             •   PTs and PTAs: Both Jessica Vigil and Faisal Chaudry
                 testified that Ms. Mahbub would keep and distribute the
                 pre-signed therapy documents they used to create fake
                 patient files. Mr. Chaudry also testified that Ms.
                 Mahbub calculated his pay for doing that, including
                 breaking up paychecks to conceal how many visit notes
                 Mr. Chaudry was being paid to make up in a two week
                 period (which were for more visits than he could have
                 possibly done if he were actually doing the work and
                 not just falsifying documents). There was also testimony
                 from Mr. Akhtar and Ms. Vigil about Ms. Mahbub
                 adding information onto fake OASIS and recertification
                 forms to justify home health episodes.

             •   Data Entry: There was testimony from Faisal Chaudry
                 and Amanda Prescott about Mahbub creating fake,
                 duplicate entries for PTs and PTAs in the Synergy
                 software/billing system to fit the impossible number of
                 visits into the system to insure that Medicare would pay
                 the maximum amount to All American. Ms. Prescott
                 also testified that Ms. Mahbub directed her to pick dates
                 and times in Synergy based not on when therapy
                 happened, but on what they could fit into the calendar.



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 [Docket No. 578, at 5-6] The Government also notes that its trial testimony

 highlighted above “was corroborated by documents, electronic records and financial

 documents.” [Id.]

       Considering all the evidence presented at trial in the light most favorable to the

 Government, a reasonable juror could have found that the evidence established

 beyond a reasonable doubt that Defendant knowingly and willingly altered medical

 records that were submitted to Medicare as a part of the March 2009 audit. There is

 also sufficient evidence to show that Defendant Mahbub requested that others

 fabricate visit notes and physical therapy evaluations that were pre-signed by patients

 after Mr. Akhtar, whom Defendant claims directed all of her actions, left All

 American. In short, there was sufficient evidence for the trier of fact to find that

 Defendant had joined in the overall conspiracy to commit health care fraud at All

 American.

        B. Government’s Late Disclosure of Chaudry Interview Report

       Second, Defendant argues that the Government’s failure to disclose an

 interview report concerning witness, Faisal Chaudry, until after the jury began

 deliberations was detrimental to her defense. Defendant states that the interview

 report was important because it “show[ed] that Chaudry did visit patients ‘that were

 old and homebound.’” Though Chaudry stated that these visits were with patients


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 after he left work at All America, Defendant contends that the interview “impeaches

 Chaudry’s testimony that he just filled out visit forms and never saw patients.”

 Defendant claims that cross-examination of Chaudry would have been “much more

 effective” if counsel had been provided with the report before jury deliberations “to

 show the jury that Chaudry was not just a person who filled out visit forms” and to

 show the defense’s theory—that Defendant “could not have known which patients

 Chaudry saw, and which patients he did not see, because [he] actually saw patients,

 and his visit notes were the same for all patients.”

       Defense counsel relies on United States Court of Appeals for the Ninth Circuit

 case United States v. Reyes, 577 F.3d 1069 (9th Cir. 2009), though not binding on this

 Court, for the proposition that Defendant should be awarded a new trial because the

 Government made statements to the jury that it knew that Chaudry “never saw any

 patients.” In Reyes, the chief executive officer of a corporation and the vice-president

 of the corporation’s Human Resources Department, were convicted of, among other

 things, falsifying corporate books and records in a scheme to reward employees with

 grants of backdated stock options. The Ninth Circuit reversed Reyes’s conviction and

 remanded the case for a new trial finding harmful prosecutorial misconduct.

 Specifically, the Court stated, “In direct contravention of the statements given to the

 FBI by Finance Department executives that they did know about the backdating, the


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 prosecutor asserted to the jury in closing that the entire Finance Department did not

 know about the backdating, and further that the government’s theory of the case was

 that ‘finance did not know anything.’” Reyes, 577 F.3d at 1076-77. The Ninth Circuit

 Court noted:

                Moreover, the prosecutor’s statements were particularly
                prejudicial given that Reyes’[s] defense rested on his
                delegating his responsibilities to others and reliance on
                them. At the end there was considerable focus on the issue
                of what the Finance Department knew. The prosecutor’s
                false statements went directly to this issue. Moreover, the
                statements were made during closing arguments, both
                orally and visually, and closing statements from the
                prosecution “matter a great deal.” [United States v.
                Kojayan, 8 F.3d 1315, 1323 (9th Cir. 1993)]. Deliberate
                false statements by those privileged to represent the United
                States harm the trial process and the integrity of our
                prosecutorial system. We do not lightly tolerate a
                prosecutor asserting as a fact to the jury something known
                to be untrue or, at the very least, that the prosecution had
                very strong reason to doubt. See [United States v. Blueford,
                312 F.3d 962, 968 (9th Cir. 2002)]. There is no reason to
                tolerate such misconduct here.

 Id. at 1078.

       The Court is not persuaded that the statements made by the Government in this

 case in rebuttal argument rise to the level of those made in Reyes warranting the Court

 granting Defendant a new trial. The Court is aware that a “prosecutor’s opinion

 carries with it the imprimatur of the Government and may induce the jury to trust the

 Government’s judgment rather than its own view of the evidence.” United States v.
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 Young, 470 U.S. 1, 18-19 (1985) (citing Berger v. United States, 295 U.S. 78, 88–89

 (1935)). For this reason, it is improper for the government to present to the jury

 statements or inferences it knows to be false or has very strong reason to doubt. See

 Blueford, 312 F.3d at 968 (citing Kojayan, 8 F.3d at 1318-19).

         Here, the prosecutor argued to the jury that Chaudry did not see any patients at

 All American, the facility Defendant was employed with leading to her charge of

 health care fraud. Chaudry’s interview report stated that Chaudry began to work for

 Acure Home Care, Inc. (“Acure”) at the end of 2009 as a Physical Therapy Assistant.

 While at Acure, Chaudry “visited approximately two to ten patients that were old and

 homebound [and] spent between 30-45 minutes with each patient.” There is nothing

 in the report regarding Chaudry having seen patients while employed at All American.

 Defendant argues that Chaudry testified that he “mostly” did not see patients while at

 All American because “[t]he patients were too hard to get ahold of.” [Docket No.

 578, Ex. A, at 1] The Court notes that Chaudry also testified that he “pled guilty” to

 Medicare fraud because he “made up fake physical therapy notes for homebound

 patients that I didn’t see.” [Docket No. 582, filed May 20, 2013, Faisal Chaudry

 Testimony, at 4, 5] Chaudry stated that he “engage[d] in this conduct” while

 employed at “All American Home Care” and reiterated that he “didn’t see” patients.

 [Id.]


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       Unlike in Reyes, here, the Court is not satisfied that the information contained

 in the report, even if relevant, “went directly to [the] issue” of Defendant’s

 involvement in the conspiracy to commit Medicare fraud at All American. Further,

 the Court is not persuaded that the prosecutor’s statements regarding Chaudry’s

 practices while at All American were “particularly prejudicial” given that the

 government’s statements were in regards to All American, the facility at issue in

 Defendant’s trial, and not Acure, the facility Chaudry worked at after leaving All

 American. Awarding a new trial is not justified on this claim.

       C. Ineffective Assistance of Counsel

       Defendant also makes an ineffective assistance of counsel claim. The legal

 principles that govern claims of ineffective assistance of counsel were established in

 Strickland v. Washington, 466 U.S. 668 (1984). An ineffective assistance claim has

 two components: A petitioner must show that counsel’s performance was deficient,

 and that the deficiency prejudiced the defense. Id. at 687. To establish deficient

 performance, a petitioner must demonstrate that counsel’s representation “fell below

 an objective standard of reasonableness.” Id. at 688. Specific guidelines for

 appropriate attorney conduct have not been articulated.          Instead courts have

 emphasized that “[t]he proper measure of attorney performance remains simply

 reasonableness under prevailing professional norms.” Id.


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        Opening the door to damaging testimony can constitute deficient performance.

  Jones v. Harry, 405 F. App’x 23, 27 (6th Cir. 2010) (citing White v. Thaler, 610 F.3d

  890, 900 (5th Cir. 2010)). However, in Strickland, the Supreme Court emphasized

  that, when considering an ineffective assistance of counsel claim, the reviewing court

  should afford counsel a great deal of deference:

               Judicial scrutiny of counsel’s performance must be highly
               deferential. It is all too tempting for a defendant to second-
               guess counsel’s assistance after conviction or adverse
               sentence, and it is all too easy for a court, examining
               counsel’s defense after it has proved unsuccessful, to
               conclude that a particular act or omission of counsel was
               unreasonable . . . . A fair assessment of attorney
               performance requires that every effort be made to eliminate
               the distorting effects of hindsight, to reconstruct the
               circumstances of counsel’s challenged conduct, and to
               evaluate the conduct from counsel’s perspective at the time.
                 Because of the difficulties inherent in making the
               evaluation, a court must indulge a strong presumption that
               counsel’s conduct falls within the wide range of reasonable
               professional assistance; that is, the defendant must
               overcome the presumption that, under the circumstances,
               the challenged action might be considered sound trial
               strategy.

  Strickland, 466 U.S. at 669 (internal citations omitted).

        The Strickland Court further explained that, to establish deficient performance,

  a defendant must identify acts that were “outside the wide range of professionally

  competent assistance.” Id. To satisfy the prejudice prong, a defendant must show that

  “there is a reasonable probability that, but for counsel’s unprofessional errors, the
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  result of the proceeding would have been different. A reasonable probability is a

  probability sufficient to undermine confidence in the outcome.” Id. at 694. Applying

  the Strickland standard, the Sixth Circuit has held that a reviewing court must focus

  on whether counsel’s alleged errors “have undermined the reliability of and

  confidence in the result.” McQueen v. Scroggy, 99 F.3d 1302, 1311 (6th Cir. 1996),

  cert. denied 520 U.S. 1257 (1997).

        Prior to trial, Defense Counsel filed a motion to exclude certain evidence

  regarding Defendant’s prior work history at a company called Visiting Nurse Service

  of Michigan. [Docket No. 412, filed November 10, 2011] In that motion, Defense

  Counsel argued that testimony that “a witness claim[ed] that she told Mahbub not to

  work for Shahab because he was a ‘crook’ ha[d] little probative value as to Mahbub’s

  intent,” the testimony was not 404(b) evidence, and the testimony did not pass the 403

  balancing test because the testimony was “more prejudicial than probative.”

  Defendant now argues that Defense Counsel was ineffective because “the court

  allowed the government to present [Defendant’s] employment application . . . at

  Patient Choice, a company she worked at briefly before she went to All American”

  based on defense counsel “open[ing] the door” through statements he made in his

  opening. Defendant states that “[w]hile counsel disagreed with the court’s ruling,” the

  job application was admitted. Defendant contends that the application “was extremely


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  prejudicial to the defense argument and theory of the case: that [Defendant] was

  following orders at All American” because it showed that Defendant had 4 years of

  experience with Medicaid, Medicare, and Blue Cross.

        Assuming, arguendo, that the Court is satisfied that Defendant has shown that

  counsel’s performance was deficient based on counsel’s statements causing admission

  of documents that he moved the Court to withhold from the jury, the Court is not

  persuaded that counsel’s purported deficiency prejudiced the defense. While Defense

  counsel’s statements may have allowed Defendant’s application to come into

  evidence, Defendant has failed to show a “reasonable probability that, but for

  [admission of the document], the result of the proceeding would have been different.”

  Defendant’s theory, that she acted only by direction of Mr. Akhtar, was directly

  refuted by evidence at trial.      The government presented ample evidence of

  Defendant’s involvement in the criminal conspiracy, actions which continued even

  after Akhtar stopped working for All American. For this reason, the Court cannot

  determine that the alleged errors “undermined the reliability of and confidence” in the

  jury’s verdict.

  II.   CONCLUSION

        For reasons set forth above, the Court finds that sufficient evidence was

  presented at trial for the jury to conclude that the Government satisfied its burden of


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  proof with respect to each element of Count I. The Court is also not persuaded that

  the jury’s verdict was against the manifest weight of the evidence such that the

  interests of justice require a new trial.

        Accordingly,

        IT IS ORDERED that Defendant’s Consolidated Motion for New Trial and

  Judgment of Acquittal [Docket No. 574, filed November May 1, 2013] is DENIED.

        IT IS FURTHER ORDERED that sentencing in this matter will proceed on

  March 27, 2014, at 2:00 p.m.

        IT IS SO ORDERED.



                             S/Denise Page Hood
                             Denise Page Hood
                             United States District Judge

  Dated: February 27, 2014

  I hereby certify that a copy of the foregoing document was served upon counsel of
  record on February 27, 2014, by electronic and/or ordinary mail.

                             S/LaShawn R. Saulsberry
                             Case Manager




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